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The following constitutes the ruling of the court and has the force and effect therein described.




Signed May 22, 2023
______________________________________________________________________




                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

                                                                   §
      In re:                                                           Chapter 11
                                                                   §
                                                                   §
      HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                                   §   Case No. 19-34054-sgj11
                                      Reorganized Debtor.          §
                                                                   §


      ORDER PERTAINING TO THE HEARING ON HUNTER MOUNTAIN INVESTMENT
          TRUST’S MOTION FOR LEAVE TO FILE ADVERSARY PROCEEDING
                                            [DE ## 3699 & 3760]


               Based on the court’s review of all of the parties’ pleadings and briefing relating to the

     above-referenced motion and supplemental motion (“Motion for Leave”), the court has determined

     that there may be mixed questions of fact and law implicated by the Motion for Leave—and, in

     particular, pertaining to the court’s required inquiry into whether “colorable” claims may exist, as

     described in the Motion for Leave. Therefore, the parties will be permitted to present evidence

     (including witness testimony) at the June 8, 2023 hearing if they so choose. This may include


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examining any witness for whom a Declaration or Affidavit has already been filed. The parties

will be allowed no more than three hours of presentation time each (allocated three hours to the

movant and three hours to the aggregate respondents). This allocated presentation time may be

spent in whatever manner the parties believe will be useful to the court (argument/evidence).

                                 # # # END OF ORDER # # #




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